Case 1:04-cv-Oll71-.]DT-STA Document 44 Filed 07/12/05 Page 1 of 3 Page|D 55

UNITED sTATEs DlsTRlCT COURT F l L E D B
WESTERN DISTRICT OF TENNESSEE \Y
EASTERN DIVISION J
JACK LESTER ROBERTS Th°ma= M_
PLAINTLFF ' ’ C"=<>n
vs. DOCKET No.: 1-04-1171

MARK ANDERSON, DENNIS
TAYLOR, HARRY COOPER,
MCKENZIE POLICE DEPARTMENT,
CITY OF MCKENZIE

AND
DAVID MORGAN, KATHY YOUNG,
JOHN DOE, (UNNAMED DEPUTIES),
BENDELL BARTHOLOMEW, CARROLL
COUNTY sHERlFF DEPARTMENT AND
COUNTY OF CARROLL

DEFENDANTS
ORDER

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This Cause came on to be and Was heard on this the _L/ d§ of July, 2005, before the
Honorable J ames Todd, U. S. District ludge, and for good cause shown and upon the agreement
of the Parties that an additional 15 days for the filing of the Defendant’s, David Morgan, Kathy
Young, John Doe, Unnamed Deputies, Bendell Bartholomew, Carroll County Sheriff Department
and County of Carroll, Motion For Summary Judgement so as to receive the transcript of Jack
Roberts Deposition.

IT lS THEREFORE ORDERED, ADJUDGED AND DECREED that the Defendant’s
Motion For Summary J`udgement shall be filed on or before the l9‘h day of July, 2005.

C@/W£S .QUM

HON `RABLE JAMES TODD,
U. S. ISTRICT JUDGE

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with Ru!e 58 and,'or,?Q (a) FF\CP on

 

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APPROVED FOR ENTRY:

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